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                             UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA




 IN RE: ROUNDUP PRODUCTS                        MDL No. 2741
 LIABILITY LITGATION
                                                Case No. 16-md-02741-VC
 This document relates to:
                                                PRETRIAL ORDER NO. 78:
 ALL ACTIONS
                                                GUIDANCE FOR THE PARTIES RE
                                                MOTIONS IN LIMINE

       The following should guide the parties’ preparation for discussing motions in limine at
tomorrow’s pretrial conference. Following the hearing, the Court will issue a full order on all
motions further explaining its reasoning.

Motions Regarding Decisions of Regulators and IARC

   •   Plaintiffs’ Motion in Limine No. 4 to exclude evidence of decisions by foreign regulators
       is granted for Phase 1 and denied for Phase 2, although the amount of time spent on this
       evidence will be restricted per Rule 403 to avoid wasting the jury’s time. This ruling is
       tentative; the Court will hear argument.
   •   Plaintiffs’ Motion in Limine No. 5 to exclude certain EPA documents is granted in part
       for both phases. The fact of EPA approval is admissible at both phases, but the
       documents themselves are not. Particularly during Phase 1, discussion of EPA approval
       will be restricted per Rule 403 to avoid wasting the jury’s time, because the primary
       inquiry is what the actual studies show, not what regulators have concluded upon
       reviewing those studies. This ruling is tentative; the Court will hear argument.
   •   Monsanto’s Motion in Limine No. 1 to exclude IARC’s classification is granted in part
       for both phases. The fact of the classification is admissible at both phases, but the
       Monograph itself is not. Particularly during Phase 1, discussion of the IARC
       classification will be restricted per Rule 403 to avoid wasting the jury’s time, because the
       primary inquiry is what the actual studies show, not what IARC concluded upon
       reviewing those studies. But the experts can explain why they relied in part on the IARC
       classification to reach their own conclusions. In addition, the jury will be instructed about
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       how the IARC inquiry is different from the causation inquiry in a civil trial. This ruling is
       tentative; the Court will hear argument.

Motions Regarding Monsanto’s Conduct
   •   Monsanto’s Motion in Limine No. 2 to exclude reference to and evidence of ghostwriting
       is granted for Phase 1 and denied for Phase 2. No argument is needed on this motion.
   •   Monsanto’s Motion in Limine No. 3 to exclude marketing materials is granted for both
       phases. This ruling is tentative; the Court will hear argument.
   •   Monsanto’s Motion in Limine No. 6 to exclude evidence of public-relations activities is
       granted for Phase 1 and denied as overbroad for Phase 2. No argument is needed on this
       motion.
   •   Monsanto’s Motion in Limine No. 7 to exclude evidence of post-use corporate conduct is
       granted for both phases, with the limited exception that, to the extent an expert relies on a
       paper or study that Monsanto was involved in producing or allegedly attempted to
       influence, evidence of that conduct is admissible. This ruling is tentative; the Court will
       hear argument.
   •   Monsanto’s Motion in Limine No. 8 to exclude evidence regarding Proposition 65 is
       granted for both phases. No argument is needed on this motion.
   •   Monsanto’s Motion in Limine No. 13 to exclude evidence of lobbying activities is
       granted for Phase 1 and denied for Phase 2, but the amount of time spent on this evidence
       will be restricted per Rule 403. No argument is needed on this motion.

Motions Regarding General Causation/Monsanto’s Scientific Knowledge
   •   Plaintiff’s Motion in Limine No. 1 to exclude ecological studies is denied. No argument
       is needed on this motion.
   •   Monsanto’s Motion in Limine No. 9 to exclude evidence of adverse event reports is
       granted for both phases, without prejudice to the plaintiffs’ making an offer of proof
       regarding specific adverse event reports that might be relevant during Phase 2. No
       argument is needed on this motion.
   •   Monsanto’s Motion in Limine No. 10 to exclude evidence relating to the Seralini study is
       granted for both phases. No argument is needed on this motion.
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Motions Regarding Specific Causation
   •   Plaintiffs’ Motion in Limine No. 2 to exclude new general causation opinions: see the
       Court’s tentative ruling regarding Monsanto’s specific causation experts, Pretrial Order
       No. 74 (Dkt. No. 2682). The Court will hear argument on this motion.
   •   Plaintiffs’ Motion in Limine No. 6 is granted in light of the agreement among the experts
       regarding the time period when Mr. Hardeman was likely exposed to hepatitis. No
       argument is needed on this motion.
   •   Plaintiffs’ Motion in Limine No. 7 to exclude evidence of other conditions is denied as to
       basal cell carcinoma, but granted as to the other conditions. No argument is needed on
       this motion.
   •   Plaintiffs’ Motion in Limine No. 8 is granted as unopposed.
   •   Plaintiffs’ Motion in Limine No. 9 is granted as unopposed.
   •   Plaintiffs’ Motion in Limine No. 11 is granted in light of the agreement among the
       experts about the time period when Mr. Hardeman was likely exposed to hepatitis C. No
       argument is needed on this motion.
   •   Plaintiffs’ Motion in Limine No. 12 is granted in light of the agreement among the
       experts about the time period when Mr. Hardeman was likely exposed to hepatitis B. No
       argument is needed on this motion.

Miscellaneous Motions
   •   Plaintiffs’ Motion in Limine No. 3 to exclude evidence and argument about the benefits
       of glyphosate is granted for both phases, except that the parties may present limited
       background information as necessary to explain to the jury what glyphosate is and does.
       This ruling is tentative; the Court will hear argument.
   •   Plaintiffs’ Motion in Limine No. 10 to exclude evidence about collateral source payments
       is granted for both phases in accordance with the parties’ stipulation. See Dkt. No. 2613.
   •   Plaintiffs’ Motion in Limine No. 13 to exclude evidence about attorney retention and
       advertising is granted for both parties. No argument is needed on this motion.
   •   Monsanto’s Motion in Limine No. 4.1 to exclude comparisons to the tobacco industry is
       granted for both phases. No argument is needed on this motion.
   •   Monsanto’s Motion in Limine No. 4.2 to exclude appeals to the jury relating to
       Monsanto’s wealth is granted except to the extent relevant to punitive damages or to the
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       extent necessary to rebut the suggestion that certain studies of glyphosate would have
       been cost-prohibitive. No argument is needed on this motion.
   •   Monsanto’s Motion in Limine No. 4.3 to exclude references to the common good or to
       sending Monsanto a message is granted for Phase 1 and denied for Phase 2. No argument
       is needed on this motion.
   •   Monsanto’s Motion in Limine No. 5.1 to exclude references to other pending litigation is
       granted for both phases, except to the extent necessary for the experts to respond to
       questions about their compensation. This ruling is tentative; the Court will hear argument.
   •   Monsanto’s Motion in Limine No. 5.2 to exclude evidence of and reference to
       Monsanto’s other products is granted for both phases. No argument is needed on this
       motion.
   •   Monsanto’s Motion in Limine No. 5.3 to exclude evidence about the Bayer acquisition is
       granted for both phases, except to the extent necessary, during Phase 2, to explain
       Monsanto’s financial condition. No argument is needed on this motion.
   •   Monsanto’s Motion in Limine No. 11.1 to exclude references to the “magic tumor” is
       denied for both phases. This ruling is tentative; the Court will hear argument.
   •   Monsanto’s Motion in Limine No. 11.2 to exclude discussion of the IBT/Craven studies
       is granted for both phases. This ruling is tentative; the Court will hear argument.
   •   Monsanto’s Motion in Limine No. 11.3 to exclude the Copley letter is granted for both
       phases as unopposed.
   •   Monsanto’s Motion in Limine No. 11.4 to exclude Monsanto-related publications such as
       Whitewash is granted for both phases, without prejudice to the plaintiffs making an offer
       of proof as to a particular publication. No argument is needed on this motion.
   •   Monsanto’s Motion in Limine No. 11.5 to exclude evidence of Roundup’s other alleged
       health effects is granted for both phases. No argument is needed on this motion.
   •   Monsanto’s Motion in Limine No. 12 to exclude evidence of glyphosate in food or breast
       milk is granted for both phases as unopposed.

       IT IS SO ORDERED.

Date: February 12, 2019                                      _____________________________
                                                             Honorable Vince Chhabria
                                                             United States District Court
